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                                         Certificate Number: 03088-PAE-DE-034124413
                                         Bankruptcy Case Number: 15-10050


                                                       03088-PAE-DE-034124413




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on February 21, 2020, at 7:04 o'clock PM CST, Loretta E
Marshall completed a course on personal financial management given by
telephone by Debt Education and Certification Foundation, a provider approved
pursuant to 11 U.S.C. 111 to provide an instructional course concerning personal
financial management in the Eastern District of Pennsylvania.




Date:   February 21, 2020                By:      /s/Brianna M Glynn


                                         Name: Brianna M Glynn


                                         Title:   Counselor
